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 4
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 5

 6

 7                       UNITED STATES DISTRICT COURT
 8
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 9

10 ANNA KIHAGI, an individual; RENKA
   PROP LLC, a California Limited Liability Case No.:
11
   Company;
12                                          COMPLAINT FOR DAMAGES AND
                Plaintiff,
                                            DEMAND FOR JURY TRIAL
13
        vs.
14
                                               1. BREACH OF CONTRACT;
   UMPQUA BANK, a state-chartered bank, and    2. BREACH OF FIDUCIARY DUTY
15
   DOES 1 through 100, inclusive,              3. INTENTIONAL
16                                                MISREPRESENTATION;
                Defendants                     4. NEGLIGENT
17                                                MISREPRESENTATION;
18                                               5. CONCEALMENT;
                                                 6. INTERFERENCE WITH
19                                                   CONTRACT;
                                                 7. INTERFERENCE WITH
20                                                   PROSPECTIVE ECONOMIC
                                                     ADVANTAGE;
21                                               8. NEGLIGENCE; and
22                                               9. PROMISSORY ESTOPPEL
                                                 10. DECLARATORY RELIEF
23                                               11. UNFAIR COMPETITION

24

25                                              DEMAND FOR JURY TRIAL

26
27

28

                                COMPLAINT FOR DAMAGES
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 1        Plaintiffs Anna Kihagi and Renka Prop, LLC (collectively, “Plaintiffs”)
 2 hereby alleges as follows:

 3                                       PARTIES
 4               Plaintiffs
 5        1.     Plaintiff Renka Prop, LLC (“Renka”) was and at all relevant times
 6 hereto is a limited liability company with its principal place of business in Los

 7 Angeles, California.

 8        2.     Plaintiff Anna Kihagi (“Kihagi”) was and at all relevant times hereto
 9 is an individual whose primary residence is in the County of Los Angeles, State of

10 California.

11               Defendant
12        3.     Defendant Umpqua Bank (“Umpqua”) is a State-Charted Bank with
13 its principal place of business in Portland Oregon.

14        4.     The true names, identities and capacities of those defendants
15 designated as DOES 1 through 100, inclusive, and each of them, are unknown to

16 Plaintiffs, who sue said defendants by such fictitiously designated names. Plaintiffs

17 are informed and believe and, on the basis thereof, allege that each of the

18 Defendants designated herein as a DOE was a California resident and in some way
19 was legally responsible for the events herein alleged. Plaintiffs will seek leave of

20 Court to set forth the true names, identities and capacities of defendants designated

21 as DOES 1 through 100, inclusive, when same has been ascertained. References to

22 “Defendants” or “All Defendants” herein include Umpqua in addition to DOES 1

23 through 100, inclusive.

24        5.     Plaintiffs are informed and believe and, on the basis, thereof allege
25 Umpqua and DOES 1 through 100, inclusive, and each of them were responsible

26 for damages incurred by Plaintiffs as described herein. Plaintiffs are further
27 informed and believe and thereon allege that, at all times herein mentioned, each of

28 the Defendants sued herein was the agent, civil joint conspirator, or employee of
                                         -1-
                                COMPLAINT FOR DAMAGES
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 1 each of the remaining Defendants and was at all times acting within the purpose

 2 and scope of such agency, civil conspiracy, and employment. Plaintiffs are further

 3 informed and believe and thereon allege that, at all times herein mentioned, each of

 4 the Defendants aided and abetted the remaining Defendants in the acts alleged

 5 herein.

 6

 7                            JURISDICTION AND VENUE
 8         6.     This Court has jurisdiction over this controversy pursuant to 28 U.S.C.
 9 Section 1332(a)(2) because the plaintiffs and defendants are completely diverse and

10 the amount in controversy exceeds the $75,000.00 minimum jurisdictional

11 requirement, exclusive of costs and attorneys’ fees.

12         7.     Venue is also proper pursuant to 28 US Code Section 1391(b)(1)(3)
13 because Renka maintains its principal place of business in Los Angeles, California.

14 Moreover, defendant Umpqua does substantial business in Los Angeles County such

15 that it is subject to this Court’s personal jurisdiction.

16                              GENERAL ALLEGATIONS
17         8.     This action arises from Umpqua Bank’s false and fraudulent lending
18 practices which resulted in the improper sale of Plaintiff’s real property located at
19 195 Eureka Street in San Francisco, California. (“Eureka Street Property”).

20         9.     On or about December 18, 2013, Renka executed that certain
21 Promissory Note secured by Deed of Trust in favor of Umpqua in the principal

22 amount of $1,325,000, having a final payment maturity date of January 1, 2044

23 ("Renka Note"), a true and correct copy of which is attached hereto as Exhibit 1

24         10.    Repayment of the outstanding obligations owed by Renka to Umpqua
25 evidenced by the Renka Note are secured by, inter alia, that certain Deed of Trust

26 and Absolute Assignment of Payments and Leases and Security Agreement (and
27 Fixture Filing) dated as of December 18, 2013 (the "Renka Deed of Trust"),

28 executed by Renka in favor of UPF Incorporated, as trustee, for the benefit of
                                          -2-
                                 COMPLAINT FOR DAMAGES
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 1 Umpqua, as beneficiary, with respect to the Eureka Street Property, a true and

 2 correct copy of the Renka Deed of Trust is attached hereto as Exhibit 2 and

 3 incorporated herein by this reference as though set forth in full. The Renka Deed of

 4 Trust was recorded on December 27, 2013 in the Official Records of the San

 5 Francisco County Recorder's Office.

 6         11.   On or about December 18, 2013, Renka executed that certain
 7 Assignment of Agreements, Permits, Licenses and Approvals ("Assignment

 8 Agreement"), a true and correct copy of which is attached hereto as Exhibit 3 and

 9 incorporated herein by this reference as though set forth in full.

10         12.   The Renka Note, Renka Deed of Trust and Assignment Agreement
11 are hereinafter collectively referred as the "Secured Loan Documents." All

12 capitalized terms not otherwise defined in this Complaint shall have the meanings

13 ascribed to them in the Secured Loan Documents.

14         13.   On June 4, 2015, the City and County of San Francisco and the People
15 of the State of California (collectively, the "City") filed a complaint for injunctive

16 and other relief against multiple defendants including Kihagi in the action entitled

17 The City and County of San Francisco, etc. v. Anne Kihagi, etc., et al., San

18 Francisco County Superior Court Case No. CGC-15-546152 (the "San Francisco
19 Action"). On October 26, 2017, an amended judgment was entered in the San

20 Francisco Action against various defendants including, without limitation, Kihagi.

21         14.   On January 26, 2018, Umpqua moved for Optional Default on the
22 Eureka Street Property – not based on any monetary missed payment – but based

23 on a missed financial statement. On February 27, 2018, Umpqua modified its

24 Optional default under the Renka Note and Renka Deed of Trust with Umpqua

25 claiming a requirement to bond any judgments attached on any property. The

26 amended judgment entered in the San Francisco Action was bonded by May 11,
27 2018 well within 90 days of Umpqua’s Optional Default election. Despite this fact,

28 Umpqua improperly moved to sell the Eureka Street Property.
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                                COMPLAINT FOR DAMAGES
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 1        15.    Plaintiffs are informed and believes and based thereupon alleges that
 2 Renka’s Deed of Trust only permits a judicial or a non-judicial foreclosure as sole

 3 methods for enforcement of debt. At no time did Umpqua ever file for judicial

 4 foreclosure or a non-judicial foreclosure. Further, at no time has Umpqua recorded

 5 a Notice of Default on the Eureka Street Property.

 6        16.    Indeed, for approximately several months even going back to 2018,
 7 Plaintiffs made several requests for Umpqua to provide a proper payoff demand

 8 statement to Plaintiffs, pursuant to Civil Code Section 2943, so that Plaintiffs could

 9 make a proper payment(s) to extinguish the amounts due under the Renka Note.

10 Umpqua refused to provide a proper demand statement and denied Plaintiffs’

11 escrow company the ability to release funds held in escrow that could have repaid

12 the loan in full satisfaction of the Renka Note and Renka Deed of Trust for the

13 Eureka Street Property. Plaintiffs are informed and believe, and based thereupon

14 allege, that Umpqua wrongfully precluded Plaintiffs from fully extinguishing the

15 loan prior to the sale of the Eureka Street Property.

16        17.    As a direct and proximate result of Umpqua’s wrongful and fraudulent
17 lending practices, Plaintiffs have been harmed in an amount to be proven at trial,

18 but not less than $10,000,000.
19

20                            FIRST CLAIM FOR RELIEF
21                       BREACH OF WRITTEN CONTRACT
22                   (By Renka Against Umpqua and DOES 1 – 100)
23        18.    Plaintiffs incorporate by reference all other paragraphs of this
24 complaint as if fully set forth herein.

25        19.    As alleged above, on or about December 18, 2013, Renka and
26 Umpqua entered into written contracts, which were the Renka Note, Renka Deed
27 of Trust and Assignment Agreement, which are collectively referred as the

28 "Secured Loan Documents."
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 1        20.    Defendants breached those contracts by, inter alia, failing to perform
 2 their express and implied promises set forth therein, including but not limited to:

 3        (i) failing to treat the Eureka Street Property in a reasonable manner;
 4        (ii) forcibly barring Plaintiffs' participation in the contracts;
 5        (iii) acting in bad faith by denying Renka the benefits under the contracts,
 6 including the ability to maintain good borrower status and reinstate the subject

 7 and/or pay off the outstanding balance in full;

 8        (iv) failing to provide Plaintiffs a statutory compliant pay-off demand;
 9        (v) failing to provide Plaintiffs an amended pay-off demand;
10        (vi) improperly rejecting Renka’s payoff offers;
11        (vii) failing to allow redemption of the loan;
12        (viii) improperly selling the Eureka Street Property without complying with
13 the terms of the Deed of Trust including Section 8.17(d)(i) of the Renka Deed of

14 Trust requiring Umpqua to comply with California’s statutory real property and

15 foreclosure laws;

16        (ix) improperly selling the Eureka Street Property without complying with
17 California’s judicial and nonjudicial foreclosure law;

18        (x) improperly interfering with Renka’s existing economic relations with its
19 tenants and prospective tenants at the Eureka Street Property;

20        (xi) engaging in selective enforcement of rights; among others.
21        21.    Plaintiffs performed all conditions and covenants except those that
22 were waived or excused or are unenforceable by Umpqua

23        22.    As a direct and proximate result of Umpqua's breaches, Renka has
24 been harmed in an amount to be proven at trial, but not less than $10,000,000.

25 Because of the breaches alleged herein, Plaintiffs have had to defend and bring

26 numerous actions, and for which, they are entitled to recover their attorney’s fees
27 and expenses in those actions against Defendants as reliance contractual damages.

28
                                          -5-
                                 COMPLAINT FOR DAMAGES
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 1                           SECOND CLAIM FOR RELIEF
 2                          BREACH OF FIDUCIARY DUTY
 3                      (By All Plaintiffs Against All Defendants)
 4        23.    Plaintiffs incorporate by reference all other paragraphs of this
 5 complaint as if fully set forth herein.

 6        24.    Plaintiffs reasonably reposed trust and confidence in Umpqua to
 7 operate its loan with Renka in a reasonable and just manner, by virtue of Umpqua’s

 8 representations and assurances, and its imposition of itself into the affairs of

 9 Renka, and/or the loan collateral (including the Eureka Street Property)-and by

10 virtue of its control over Umpqua’s collateral including the Eureka Street Property.

11 Moreover, leveraging its purported rights in the Secured Loan Documents, Renka

12 became, in effect, the controlling partner of Renka

13        25.    As such, Umpqua had a fiduciary duty to treat Plaintiffs and the
14 collateral with the utmost care. As Plaintiffs, Umpqua had the fiduciary duty to act

15 in good faith in dealing with the Eureka Street Property and in Plaintiffs' best

16 interest and to disclose all possible conflicts of interest and personal advantages

17 known or reasonably knowable to Umpqua. Moreover, Umpqua had the duty of

18 truthfulness in its dealing with Plaintiffs and keeping Plaintiffs reasonably
19 informed of matters that might materially harm Renka or Kihagi’s interest in

20 Renka. Umpqua breached its duties, inter alia, by:

21        (i) failing to treat the Eureka Street Property in a reasonable manner;
22        (ii) forcibly barring Plaintiffs' participation in the contracts;
23        (iii) acting in bad faith by denying the Plaintiff the benefits under the
24 contracts, including the ability to maintain good borrower status and reinstate the

25 subject loan and/or pay off the outstanding balance in full;

26        (iv) failing to provide Plaintiffs a statutory compliant pay-off demand;
27        (v) failing to provide Plaintiffs an amended pay-off demand;
28        (vi) improperly rejecting Renka’s payoff offers;
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                                 COMPLAINT FOR DAMAGES
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 1        (vii) failing to allow redemption of the loan;
 2        (viii) improperly selling the Eureka Street Property without complying with
 3 the terms of the Deed of Trust including Section 8.17(d)(i) of the Renka Deed of

 4 Trust requiring Umpqua to comply with California’s statutory real property and

 5 foreclosure laws;

 6        (ix) improperly selling the Eureka Street Property without complying with
 7 California’s judicial and nonjudicial foreclosure law;

 8        (x) improperly interfering with Renka’s existing economic relations with its
 9 tenants and Renka’s prospective economic relations with prospective tenants at the

10 Eureka Street Property;

11        (xi) engaging in selective enforcement of rights; among others; and
12        (x) on information and belief, failing to inform Plaintiffs of Renka’s intent to
13 misappropriate the value of the Eureka Street Property including its current, future,

14 and prospective rents.

15        26.    As a direct and proximate result of Umpqua’s breaches, Plaintiffs
16 have been harmed in an amount to be proven at trial, but not less than $10,000,000.

17 Because of the tortious wrong alleged herein, Plaintiffs have had to defend and

18 bring numerous actions, and for which, they are entitled to recover their attorneys’
19 fees and expenses in those actions against Defendants under the tort of another

20 doctrine and consequential damages.

21        27. By performing the foregoing acts, Defendants acted with the intent to
22 injure Plaintiffs and acted with malice, oppression, and/or fraud. Alternatively, the

23 acts of the Defendants were despicable and in conscious disregard of the

24 probability of damage to Plaintiffs and, thus, the conduct alleged herein support an

25 award of punitive damages pursuant to Civil Code section 3294 in an amount

26 designed to punish Defendants and to deter such conduct in the future. To the
27 extent that such acts by Defendants were conducted through their employees, those

28 employees were either its officers, directors or managing agents of Defendants, or
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 1 such officers, directors or managing agents were aware in advance that such

 2 conduct would occur, exhibited conscious disregard for the rights of others in

 3 employing the employee, or directed or ratified such conduct by its employee(s).

 4

 5                            THIRD CLAIM FOR RELIEF
 6     INTENTIONAL MISREPRESENTATION AND PROMISSORY FRAUD
 7                      (By All Plaintiffs Against All Defendants)
 8        28.    Plaintiffs incorporate by reference all other paragraphs of this
 9 complaint as if fully set forth herein.

10
          29.    Defendants, through their authorized agents and officers, made

11        representations to Plaintiffs, that Defendants knew were false or misleading
12
          or with reckless indifference to the truth or falsity of them, with the intent
13

14        that Plaintiffs rely upon the representations. Such representations included

15        promises to perform, when, in fact, there was no intent to so perform. These
16
          representations were made by the following individuals, without limitation,
17

18        Beverly Tengco, Geoff O'Neil, Daisy Simpson, Brad Howes, Eve Callahan

19        and certain attorneys at Jeffers, Mangel, Butler & Mitchell LLP including
20
          ,without limitation, Robert B. Kaplan.
21

22        30.    Plaintiffs did receive the representations, not knowing they were false

23 or misleading, and reasonably relied upon them.

24

25        31.    As a direct and proximate result of Defendant's misrepresentations,

26 Plaintiffs have been harmed in an amount to be proven at trial, but not less than
27 $10,000,000. Because of the tortious wrong alleged herein, Plaintiffs have had to

28 defend and bring numerous actions, and for which, they are entitled to recover their
                                         -8-
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 1 attorneys’ fees and expenses in those actions against Defendants under the tort of

 2 another doctrine and consequential damages.

 3          32.   By performing the foregoing acts, Defendants acted with the intent to
 4 injure Plaintiffs and acted with malice, oppression, and/or fraud. Alternatively, the

 5 acts of the Defendants were despicable and in conscious disregard of the

 6 probability of damage to Plaintiffs and, thus, the conduct alleged herein support an

 7 award of punitive damages pursuant to Civil Code section 3294 in an amount

 8 designed to punish Defendants and to deter such conduct in the future. To the

 9 extent that such acts by Defendants were conducted through their employees, those

10 employees were either its officers, directors or managing agents of Defendants, or

11 such officers, directors or managing agents were aware in advance that such

12 conduct would occur, exhibited conscious disregard for the rights of others in

13 employing the employee, or directed or ratified such conduct by its employee(s).

14

15                            FOURTH CLAIM FOR RELIEF
16                        NEGLIGENT MISREPRESENTATION
17                       (By All Plaintiffs Against All Defendants)
18          33.   Plaintiffs incorporate by reference all other paragraphs of this
19 complaint as if fully set forth herein.

20

21
            34.   Defendants, through its authorized agents and officers, had a duty as

22          fiduciaries of Plaintiffs to be accurate and truthful yet they made
23
            representations to Plaintiffs, that Defendants should have known were false
24

25          or misleading with the intent that Plaintiffs rely upon the representations

26          Plaintiffs did receive the representations, not knowing they were false or
27
            misleading, and reasonably relied upon them. These representations were
28
                                           -9-
                                  COMPLAINT FOR DAMAGES
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 1
            made by the following individuals, without limitation, Beverly Tengco,

 2          Geoff O'Neil, Daisy Simpson, Brad Howes, Eve Callahan and certain
 3
            attorneys at Jeffers, Mangel, Butler & Mitchell LLP including ,without
 4

 5          limitation, Robert B. Kaplan.

 6
            35.    As a direct and proximate result of Defendant's misrepresentations,
 7
      Plaintiffs have been harmed in an amount to be proven at trial, but not less than
 8
      $10,000,000. Because of the tortious wrong alleged herein, Plaintiffs have had to
 9
      defend and bring numerous actions, and for which, they are entitled to recover their
10
      attorney’s fees and expenses in those actions against Defendants under the tort of
11
      another doctrine and consequential damages.
12

13
                                 FIFTH CLAIM FOR RELIEF
14
                                       CONCEALMENT
15
                           (By All Plaintiffs Against All Defendants)
16
            36.    Plaintiffs incorporate by reference all other paragraphs of this
17
      complaint as if fully set forth herein.
18
            37.    By virtue of their special relationship as alleged herein above,
19
      Defendants had a duty to Plaintiffs to disclose all known material facts to
20
      Plaintiffs, including,
21
            (i) whether or not Defendants had a motive for refusing to allow Plaintiffs to
22
      completely pay off the loan and/or reinstate the loan prior to sale of the Eureka
23
      Street Property;
24
            (ii) Defendant’s intent to act outside the scope of its responsibilities as a
25
      lender;
26
            (iii) Defendant’s intent to forcibly bar Plaintiffs' participation in the
27
      contracts;
28
                                            - 10 -
                                   COMPLAINT FOR DAMAGES
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 1          (iv) Defendant’s intent to deny Plaintiffs the benefits under the contract;
 2 among others.

 3          (v) Defendant’s intent to not comply with the terms of the Secured Loan
 4 documents including Defendant’s intent to not comply with judicial and

 5 nonjudicial foreclosure procedures for the sale of the Eureka Street Property.

 6          38.   Defendants intentionally failed to disclose such facts, which were not
 7 known to Plaintiffs, and as a direct and proximate result of the failure to disclose,

 8 Plaintiffs have been harmed in an amount to be proven at trial, but not less than

 9 $10,000,000. Because of the tortious wrong alleged herein, Plaintiffs have had to

10 defend and bring numerous actions, and for which, they are entitled to recover their

11 attorney’s fees and expenses in those actions against Defendants under the tort of

12 another doctrine.

13          39.   By performing the foregoing acts, Defendants acted with the intent to
14 injure Plaintiffs and acted with malice, oppression, and/or fraud. Alternatively, the

15 acts of the Defendants were despicable and in conscious disregard of the

16 probability of damage to Plaintiffs and, thus, the conduct alleged herein support an

17 award of punitive damages pursuant to Civil Code section 3294 in an amount

18 designed to punish Defendants and to deter such conduct in the future. To the
19 extent that such acts by Defendants were conducted through their employees, those

20 employees were either its officers, directors or managing agents of Defendants, or

21 such officers, directors or managing agents were aware in advance that such

22 conduct would occur, exhibited conscious disregard for the rights of others in

23 employing the employee, or directed or ratified such conduct by its employee(s).

24                             SIXTH CLAIM FOR RELIEF
25                        INTERFERENCE WITH CONTRACT
26                           (By Renka Against All Defendants)
27          40.   Plaintiff incorporates by reference all other paragraphs of this
28 complaint as if fully set forth herein.
                                           - 11 -
                                  COMPLAINT FOR DAMAGES
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 1          41.   As alleged above, on or about December 18, 2013, Renka and
 2 Umpqua entered into written contracts, which were the Renka Note, Renka Deed

 3 of Trust and Assignment Agreement, which are collectively referred as the

 4 "Secured Loan Documents."

 5          42.   Moreover at the time Renka entered into the Secured Loan Documents
 6 with Umpqua and continuing until at least May 21, 2019, Renka had existing

 7 contractual relations with its tenants at the Eureka Street Property. Defendants

 8 interfered with these relationships by, without basis, having a receiver appointed,

 9 keeping the receiver appointed despite Renka’s ability to pay off the Renka Note,

10 and refusing to provide a proper payoff demand statement to Plaintiffs, pursuant to

11 Civil Code Section 2943

12          43.   Defendants were aware of each of these contracts and their terms.
13          44.   Defendants, without legal justification, disrupted the performance of
14 those contracts, interfering with it when it breached its obligations to Renka, and

15 purposefully prevented Renka from performance, as described more fully

16 hereinabove, and then sold the Eureka Street Property, interfering with Renka’s

17 Secured Loan Documents and Renka’s existing contractual relationships with its

18 tenants at the Eureka Street Property.
19          45.   As a direct and proximate result of such interference, Renka has been
20 harmed in an amount to be proven with certainty at trial, but not less than

21 $10,000,000. Because of the tortious wrong alleged herein, Renka has had to

22 defend and bring numerous actions, and for which, Renka is entitled to recover its

23 attorneys’ fees and expenses in those actions against Defendants under the tort of

24 another doctrine and consequential damages.

25          46.   By performing the foregoing acts, Defendants acted with the intent to
26 injure Renka and acted with malice, oppression, and/or fraud. Alternatively, the
27 acts of the Defendants were despicable and in conscious disregard of the

28 probability of damage to Renka and, thus, the conduct alleged herein support an
                                         - 12 -
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 1 award of punitive damages pursuant to Civil Code section 3294 in an amount

 2 designed to punish Defendants and to deter such conduct in the future. To the

 3 extent that such acts by Defendants were conducted through their employees, those

 4 employees were either its officers, directors or managing agents of Defendants, or

 5 such officers, directors or managing agents were aware in advance that such

 6 conduct would occur, exhibited conscious disregard for the rights of others in

 7 employing the employee, or directed or ratified such conduct by its employee(s).

 8

 9                          SEVENTH CLAIM FOR RELIEF
10      INTENTIONAL INTERFERENCE WITH PROSPECTIVE ECONOMIC
11                                     ADVANTAGE
12                          (By Renka Against All Defendants)
13          47.   Plaintiff incorporates by reference all other paragraphs of this
14 complaint as if fully set forth herein.

15          48.   At all times relevant hereto, Renka had lease commitments from
16 future tenants, was actively marketing to potential tenants, and had a track record

17 of being able to successfully lease out the Eureka Street Property

18          49.   Defendants were aware of the lease commitments and Plaintiff’s
19 efforts to secure additional tenants.

20          50.   Renka’s prospective leases were reasonably certain to create an
21 economic benefit that would inure to Renka. Renka interfered with that economic

22 benefit when it improperly took control of the Eureka Street Property and the rents

23 associated with them, as described more fully herein above, and then sold the

24 Eureka Street Property causing Renka’s loss of that prospective economic benefit.

25          51.   As a direct and proximate result of such interference, Renka has been
26 harmed in an amount to be proven with certainty at trial, but not less than
27 $25,000,000. Because of the tortious wrong alleged herein, Renka has had to

28 defend and bring numerous actions, and for which, they are entitled to recover their
                                          - 13 -
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 1 attorneys’ fees and expenses in those actions against Defendants under the tort of

 2 another doctrine and consequential damages.

 3          52.   By performing the foregoing acts, Defendants acted with the intent to
 4 injure Renka and acted with malice, oppression, and/or fraud. Alternatively, the

 5 acts of Defendants were despicable and in conscious disregard of the probability of

 6 damage to Renka and, thus, the conduct alleged herein support an award of

 7 punitive damages pursuant to Civil Code section 3294 in an amount designed to

 8 punish Defendants and to deter such conduct in the future. To the extent that such

 9 acts by Defendants were conducted through its employees, those employees were

10 either its officers, directors or managing agents of Defendant, or such officers,

11 directors or managing agents were aware in advance that such conduct would

12 occur, exhibited conscious disregard for the rights of others in employing the

13 employee, or directed or ratified such conduct by its employee(s).

14

15                            EIGHTH CAUSE OF ACTION
16                                     NEGLIGENCE
17                       (By All Plaintiffs Against All Defendants)
18          53. Plaintiffs incorporate by reference all other paragraphs of this complaint
19 as if fully set forth herein.

20          54. Defendants owed a duty to Plaintiffs by virtue of its assurances,
21 promises, its fund control, and its control over the Eureka Street Property, as

22 alleged more fully herein above.

23          55. Defendants breached that duty when it failed to honor the terms of the
24 Secured Loan Documents, acted in bad faith in taking control of the Eureka Street

25 Property, including its rents, improperly sold the Eureka Street Property, and

26 wrongfully interfered with Renka’s ability to pay off the loans on the Eureka Street
27 Property in full and/or reinstate the loans on the Eureka Street Property prior to

28 their sale, as alleged more fully herein above.
                                            - 14 -
                                   COMPLAINT FOR DAMAGES
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 1          56. As a direct and proximate result of such breaches Plaintiffs have been
 2 damaged in an amount to be proven with certainty at trial, but not less than

 3 $10,000,000. Because of the tortious wrong alleged herein, Plaintiffs have had to

 4 defend and bring numerous actions, and for which, they are entitled to recover their

 5 attorney’s fees and expenses in those actions against Defendants under the tort of

 6 another doctrine and consequential damages.

 7

 8                              NINTH CAUSE OF ACTION
 9                              PROMISSORY ESTOPPEL
10                       (By All Plaintiffs Against All Defendants)
11          57. Plaintiffs incorporate by reference all other paragraphs of this complaint
12 as if fully set forth herein. Plaintiffs allege this cause of action as an alternative to

13 their breach of contract causes of action.

14          58. When Defendants made the representations and promises to Plaintiffs as
15 alleged herein, Defendants knew that Plaintiffs would rely upon those

16 representations. Plaintiffs did so indeed reasonably rely, and as a consequence, did

17 not seek out alternate financing even though alternate financing was available. As

18 a consequence, Defendants took control (or had Renka and/or the Receiver take
19 control) over the Eureka Street Property and subsequently sold the Eureka Street

20 Property.

21          59. As a direct and proximate result of Defendant's promises, Plaintiffs were
22 damaged in an amount to be proved with certainty at trial, but not less than

23 $10,000,000.

24                             TENTH CAUSE OF ACTION
25                               DECLARATORY RELIEF
26                               (As Against All Defendants)
27          60.   Plaintiffs incorporate by reference all other paragraphs of this
28 complaint as if fully set forth herein.
                                           - 15 -
                                  COMPLAINT FOR DAMAGES
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 1          61.   Plaintiffs contend that Renka has a right to redemption on the loans
 2 prior to sale of the Eureka Street Property pursuant to California Civil Code section

 3 2903 among other law. Plaintiffs further contend that Defendants have a legal

 4 obligation to provide Plaintiffs an opportunity to pay-off the Renka Note in full

 5 and/or reinstate the Renka Note by making requisite payments and/or taking some

 6 other action prior to sale of the Eureka Street Property. Moreover, Plaintiffs

 7 contend that Plaintiffs were entitled to a legally compliant pay-off demand

 8 statement. Plaintiffs further contend that Defendants can only sell the Eureka

 9 Street Property pursuant to the judicial and nonjudicial foreclosure procedures

10 provided by applicable law and that Defendants’ sale of the Eureka Street Property

11 is unlawful. Defendant dispute all of Plaintiffs contentions alleged in this

12 paragraph.

13          62.   Therefore, an actual and justiciable controversy exists between
14 Plaintiffs and Defendants regarding Plaintiffs rights under the subject contracts and

15 under California’s judicial and nonjudicial foreclosure statutes.

16          63.   Pursuant to 28 U.S.C. § 2201, Plaintiffs seek a judicial declaration
17 from the Court that Defendant’s actions to initiate and complete the sale of the

18 Eureka Street Property was improper under the law and the terms of the contract
19 and that Plaintiffs are entitled to a right of redemption pursuant to California Civil

20 Code section 2903 and other applicable law.

21

22                          ELEVENTH CAUSE OF ACTION
23                                   Unfair Competition
24     (Violation of California Business and Professions Code Section 17200 et seq.)
25                       (By All Plaintiffs Against All Defendants)
26          64.   Plaintiffs incorporate by reference all other paragraphs of this
27 complaint as if fully set forth herein.

28
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                                 COMPLAINT FOR DAMAGES
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 1          65.    By reason of Defendants’ fraudulent, deceptive, unfair, unlawful, and
 2 other wrongful conduct as herein alleged, said Defendants have violated California

 3 Business and Professions Code section 17200 et seq. by consummating an

 4 unlawful, unfair, fraudulent, and illegal business practice, designed to deprive

 5 Plaintiffs of their interest in the Eureka Street Property and the rents actually

 6 generated by the Eureka Street Property.

 7          66.    By reason of the foregoing, Plaintiffs are entitled to civil penalties
 8 pursuant to Business and Professions Code section 17206 and restitution damages

 9 in the amount of $10,000,000.

10

11                                    PRAYER FOR RELIEF
12          WHEREFORE, Plaintiffs pray for judgment against all Defendants, and
13 each of them, for each cause of action, as follows:

14       1. For special damages according to proof, all in a sum to be determined at
15          time of trial;
16       2. For general damages according to proof, all in a sum to be determined at
17          time of trial;
18       3. For other economic and consequential damages according to proof, all in a
19          sum to be determined at trial;
20       4. For damages as permitted under California Code of Civil Procedure Section
21          726;
22       5. For damages arising under Code of Civil Procedure Section 701.680;
23       6. For declaratory relief;
24       7. For prejudgment interest;
25       8. For attorneys' fees and costs;
26       9. For costs of suit; and,
27       10.For such other relief as may be appropriate.
28
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                                  COMPLAINT FOR DAMAGES
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 1 Dated: May 23, 2019                 VERDI LAW GROUP, PC
 2

 3
                                       By:    /s/Alfred J. Verdi
                                              Alfred J. Verdi
 4                                            Attorneys for Plaintiffs
 5
                                DEMAND FOR JURY TRIAL
 6
             Plaintiff hereby demands a jury trial in the instant action on all stated claims
 7
      for relief.
 8
      Dated: May 23, 2019              VERDI LAW GROUP, PC
 9

10
                                       By:    By:    /s/Alfred J. Verdi
11                                                   Alfred J. Verdi
12                                                   Attorneys for Plaintiffs

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